
390 S.E.2d 138 (1990)
326 N.C. 478
The FEDERAL LAND BANK OF COLUMBIA, A Corporation
v.
Michael B. LACKEY and wife Debra C. Lackey, and Earl David Greer and wife, Betty Greer.
No. 328PA89.
Supreme Court of North Carolina.
April 5, 1990.
Faison &amp; Brown by Mark C. Kirby and John F. Logan, Raleigh, for plaintiff-appellant.
Wilson, Palmer and Lackey, P.A. by W.C. Palmer and David S. Lackey, Lenoir, for defendant-appellee.
PER CURIAM.
AFFIRMED.
